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                      UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                            JACKSON DIVISION


OLIVIA Y ., BY AND THROUGH HER
NEXT FRIEND, JAMES D. JOHNSON;
JAMISON, J., BY AND THROUGH HIS
NEXT FRIEND, CLARA LEWIS; DESIREE,
RENEE, TYSON AND MONIQUE P., BY AND
THROUGH THEIR NEXT FRIEND, SYLVIA
FORSTER; JOHN A., BY AND THROUGH HIS
NEXT FRIEND, JAMES D. JOHNSON; CODY B.,
BY AND THROUGH HIS NEXT FRIEND, SHARON
SCOTT, MARY, TOM, MATTHEW AND DANA W.,
BY AND THROUGH THEIR NEXT FRIEND,
ZELETRA W.; AND SAM H., BY AND THROUGH
HIS NEXT FRIEND, YVETTE BULLOCK, ON
THEIR OWN BEHALF AND ON BEHALF OF
OTHERS SIMILARLY SITUATED                                           PLAINTIFFS


VS.                                          CIVIL ACTION NO. 3:04CV251LN


HALEY BARBOUR, AS GOVERNOR OF THE
STATE OF MISSISSIPPI; DONALD TAYLOR,
AS EXECUTIVE DIRECTOR OF THE DEPARTMENT
OF HUMAN SERVICES; AND BILLY MANGOLD,
AS DIRECTOR OF THE DIVISION OF FAMILY
AND CHILDREN’S SERVICES                                             DEFENDANTS


                       MEMORANDUM OPINION AND ORDER

      On March 30, 2004, plaintiffs herein moved, pursuant to Rules

23(a) and (b)(2) of the Federal Rules of Civil Procedure, for

certification of this action as a class action, with two plaintiff

classes, defined, respectively, as follows:

      (1) “all children who are or will be in the legal and/or
      physical custody of DFCS” (the “In-Custody Class”); and

      (2) “all of those children who are not in DFCS custody,
      but have been or are at risk of being abused and
      neglected, and about whom Defendants have received a
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      report of abuse or neglect (the “Protective Services
      Class”).

Subsequently, defendants Haley Barbour, Governor of the State of

Mississippi, Donald Taylor, Executive Director of the Department

of Human Services (DHS) and Billy Mangold, Director of the

Division of Family and Children’s Services (DFCS), moved to

dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.    Defendants moved to stay consideration of the motion

for class certification pending a ruling on the motion to dismiss.

On November 18, the court issued its opinion on defendants’

motion.    The court therein dismissed all claims sought to be

asserted by and on behalf of the “Protective Services Class,” and

also dismissed the claims of the “In-Custody Class” for violation

of their alleged procedural due process rights and for violation

of the Adoption Assistance and Child Welfare Act.             In the wake of

that ruling, there remain only claims of the putative “In-Custody

Class” for violation of their substantive due process rights.

      Plaintiffs, who seek class certification pursuant to Rule

23(a) and (b)(2), bear the burden of demonstrating that the

requirements of the rule have been met.          The pertinent provisions

of the rule are as follows:

      (a) Prerequisites to a Class Action. One or more
      members of a class may sue or be sued as representative
      parties on behalf of all only if (1) the class is so
      numerous that joinder of all members is impracticable,
      (2) there are questions of law or fact common to the
      class, (3) the claims or defenses of the representative
      parties are typical of the claims or defenses of the

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      class, and (4) the representative parties will fairly
      and adequately protect the interests of the class.

      (b) Class Actions Maintainable. An action may be
      maintained as a class action if the prerequisites of
      subdivision (a) are satisfied, and in addition:
      . . .
      (2) the party opposing the class has acted or refused to
      act on grounds generally applicable to the class,
      thereby making appropriate final injunctive relief or
      corresponding declaratory relief with respect to the
      class as a whole.

Thus, plaintiffs must establish the four factors of Rule

23(a)--numerosity, commonality, typicality, and adequacy–-as well

as the requirements of Rule 23(b)(2).

      Defendants admit that the proposed class, which would include

all of the approximately 3,000 children currently in DHS custody,

satisfies the requirement of numerosity, but they maintain that

plaintiffs’ efforts toward establishing the propriety of class

certification begin and end there.

      The gist of defendants’ opposition to class certification is

their insistence that in presenting this as as a prospective class

action, plaintiffs are seeking a “one size fits all” approach to

claims and issues that simply cannot be treated in such a fashion.

This is not a case of “generic children with generic claims,” say

defendants, but rather of individual children whose cases DHS is

mandated to address in an individualized fashion based on each

child’s individual circumstances and individual needs.              They note

that a child can wind up in DHS custody in one of several ways,

from the Baby Drop-Off Law to orders of the Youth Court, and that

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while there may be a common basic cause which leads to DHS’s

assuming custody, i.e., abuse and neglect, it does not follow that

all abused and neglected children are alike or have the same

problems and needs.        Indeed, they say, abused and neglected

children are of different ages, genders and family backgrounds and

have different medical, psychological and behavior problems,

intellect and education, so that the treatment, care and services

DHS is mandated to provide must be assessed on a child-specific

basis.

      Defendants further contend that plaintiffs cannot

legitimately label their claims “common” merely by broadly

alleging that “systemic deficiencies have resulted and continue to

result in violations of their federal and statutory and

constitutional rights.”        They argue, that is, that the requisite

commonality cannot be found to exist where plaintiffs have not

challenged specific practices or procedures utilized by DHS but

rather have simply alleged generally that DHS has a practice and

procedure of failing to meet the needs of children in its custody

and has thereby violated the substantive due process rights of all

children in its custody.        In sum, defendants submit that

plaintiffs have impermissibly attempted to group together children

with very different needs, rights and problems, and they conclude

that since plaintiffs cannot demonstrate that all children in the

proposed class have experienced the same problems or the same


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difficulties in receiving required services from DHS as plaintiffs

or as each other, then plaintiffs cannot possibly satisfy Rule

23(a)’s requirements of commonality and typicality.

      With reference to the requirement of Rule 23(b)(2),

defendants similarly argue that because plaintiffs have not

identified any specific policy or practice that could be the

subject of injunctive relief but rather have alleged generally

that defendants have a policy and practice of not meeting the

needs of children in its custody, it is difficult to conceive of

an injunction that could remedy the alleged deficiencies, and

certainly not a “classwide” injunction that could remedy the

deficiencies encountered by individual children.

      To meet the test for commonality, plaintiffs need not show

that “[t]he interests and claims of the various plaintiffs . . .

are identical.     Rather, the commonality test is met when there is

‘at least one issue whose resolution will affect all or a

significant number of the putative class members.’”             Forbush v.

J.C. Penney Co., Inc., 994 F.2d 1101, 1106 (5th Cir. 1993) (quoting

Stewart v. Winter, 669 F.2d 328, 335 (5th Cir. 1982)).               “For this

reason, ‘[t]he threshold of “commonality” is not high’."              Id.

(quoting Jenkins v. Raymark Industries, 782 F.2d 468, 472 (5th

Cir. 1986)).     Neither is the test for typicality demanding.               Smith

v. Texaco, Inc., 263 F.3d 394, 406 (5th Cir. 2001).            The

requirement of typicality “‘focuses on the similarity between the


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named plaintiffs' legal and remedial theories and the theories of

those whom they purport to represent,’ and is satisfied when the

resolution of common questions affects all or a substantial number

of class members.”         Id. at 406-07 (citations omitted).

      Here, the court, having considered plaintiffs’ arguments, is

persuaded that plaintiffs have sufficiently identified issues

common to all or most of the proposed class members.               These

include, by way of example only, the legal questions whether

defendants’ actions and inactions have violated the substantive

due process rights of children in DHS custody to be safe from harm

while in state custody and whether defendants’ actions and

inactions have resulted in a denial of necessary health services

in violation of their substantive due process rights, and the

factual questions whether defendants have failed to provide

children in their custody with safe, licensed foster care

placements, whether defendants have failed to provide children in

foster care with required services necessary to keep them safe and

prevent them from deteriorating physically, psychologically or

otherwise while in custody and whether DHS staffing shortage

endangers children in DHS custody.1

      1
          A plaintiff cannot clear the commonality hurdle by
“merely describing issues at the highest level of generality.”
Smith v. Texaco, Inc., 263 F.3d 394, 405 -406 (5th Cir. 2001).
Thus, for example, it is not sufficient merely to allege, without
more, that all members of the proposed class have been victims of
race discrimination. Here, while defendants challenge plaintiffs’
complaint as too general to support class certification, the court

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      In the court’s opinion, it is reasonably clear from their

complaint that plaintiffs have identified alleged shortcomings by

DHS, in terms, inter alia, of its staffing, policies and

practices, which if proven, could readily be found to place every

child in DHS custody at substantial risk of harm.             Consequently,

even though each plaintiff and each proposed class member may not

yet have suffered the same type or degree of harm (though some

surely have), because it appears that defendants’ alleged acts and

omissions pose a significant risk of similar harm to all (or at

least the requisite “significant number” of) children in DHS

custody, the court concludes that the requirements of commonality

and typicality are satisfied.

      It also follows from the court’s conclusion in this regard

that plaintiffs have satisfied the requirements of Rule 23(b)(2),

in that the plaintiffs’ allegations do relate to defendants’

actions and inaction with respect to the class as a whole and the

relief plaintiffs seek is classwide declaratory and injunctive

relief with respect to the class as a whole.           The court does

acknowledge defendants’ contention that effective injunctive

relief for the benefit of the proposed class, as opposed to relief

for the specific named plaintiffs, cannot feasibly be granted in

view of the extensiveness of the failures alleged by plaintiffs.



finds that it is sufficiently specific in terms of the violations
identified and relief sought.

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In the court’s opinion, however, the fact that it could prove

difficult to fashion fully responsive and effective injunctive

relief (in the event violation(s) are proven) is not a basis for

refusing to undertake the task in the first place.             That is to

say, the court does not perceive this to be an impossible

undertaking, and it is not one the court is unwilling to assume.

      In addition to the foregoing, defendants also contend that

plaintiffs have failed to satisfy the “adequacy” requirement of

Rule 23(a).    As to this requirement, the Fifth Circuit has made

clear that

      [t]o meet Rule 23 requirements, the court must find that
      class representatives, their counsel, and the
      relationship between the two are adequate to protect the
      interests of absent class members. Stirman v. Exxon
      Corp., 280 F.3d 554, 562 (5th Cir. 2002). Class
      representatives must satisfy the court that they, and
      not counsel, are directing the litigation. To do this,
      class representatives must show themselves sufficiently
      informed about the litigation to manage the litigation
      effort. Berger, 257 F.3d at 479.

Unger v. Amedisys Inc., 2005 WL 375684, *2 (5th Cir. 2005).

      Defendants in this case do not question the adequacy of class

counsel.     They do, however, contend that the “next friends”

through whom the named plaintiffs are suing are “uninterested and

inexperienced” and hence are not adequate class representatives.

In this regard, they note that at their depositions, Sharon Scott,

next friend to Cody B., and Sylvia Forester, next friend to the P.

Children, both testified that they do not know where these

children are now, and next friend James Johnson testified that he

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 has never met John A. and that while he knows John A. is in a

 foster home, he does not know the name of the foster parent and

 has never spoken with the foster parent.

       Plaintiffs vigorously dispute defendants’ characterization of

 these persons as uninterested and inexperienced, and insist that

 the next friend for each of the named In-Custody plaintiffs is an

 adequate representative.2      Specifically, plaintiffs note that

 James Johnson serves as guardian ad litem for both Olivia Y. and

 John A., having been appointed by the Mississippi Youth Court and

 that his representation of the children in this case is

 specifically authorized by Federal Rule of Civil Procedure 17(c).

 As for the others, plaintiffs point out that Sharon Scott is a

 family friend of Cody B.’s former foster parent and helped care

 for him for approximately eighteen months, until he was moved.

 Ms. Scott testified that she has repeatedly tried to get

 information from DHS as to his whereabouts but DHS will not give

 her the information.

       Zelatra W., next friend to Mary, Tom, Matthew and Dana W., is

 the children’s aunt who, as a licensed foster care provider, cared

 for the children in her home for two and a half years before they

 were removed.    She testified that although she has been unable to

 get information from DHS concerning the children, it has not been


       2
           Plaintiffs point out that Sylvia Forester is not a next
 friend on behalf of any of the In-Custody plaintiffs.

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 for lack of effort on her part.       Clara Lewis, next friend to

 Jamison J., is his former foster parent who has known him for

 years, stayed in touch with him, knows where he is currently and

 is Jamison J.’s biological sister’s adoptive parent.

       In the court’s opinion, the suggestion by defendants that

 these representatives of the named plaintiff children are

 uninterested or inexperienced is unfounded in fact.              To the

 contrary, each is generally knowledgeable about the nature and

 purpose of this litigation, and has a good faith interest in the

 named plaintiffs’ welfare and in the prosecution of this

 litigation.3

       In conclusion, based on the foregoing, it is ordered that

 plaintiffs’ motion for class certification is granted to the

 extent they seek certification of an “In-Custody Class.”4

       SO ORDERED this 11th day of March, 2005.



                                    /s/ Tom S. Lee
                                    UNITED STATES DISTRICT JUDGE




       3
           Copies of the next friends’ deposition transcripts were
 provided at the court’s request, and the court’s review refutes
 defendants’ characterization of these individuals.
       4
           The court notes that plaintiffs have moved to strike
 Exhibit 1 which was submitted by defendants with their response to
 the motion for class certification. In the court’s opinion,
 plaintiffs are correct that for present purposes, the exhibit is
 not relevant and it is therefore stricken.

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